Case 3:20-cv-00487-HEH Document 26 Filed 11/10/21 Page 1 of 1 PagelD# 122

LATISHA A.,

Vv.

KILOLO KIJAKAZI',
Commissioner of Social Security,

Plaintiff,

Defendant.

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA

Richmond Division

CIVIL NO. 3:20cv487-HEH

 

FINAL ORDER

(Adopting Report and Recommendation of the Magistrate Judge)

This matter is before the Court on the Report and Recommendation of the Magistrate

Judge (R&R) entered on October 25, 2021. (ECF No. 25.) The time to file objections has

expired and neither party has objected to the R&R. Having considered the matter and deeming it

otherwise proper and just to do so, it is hereby ORDERED:

Date:

(1) The Report and Recommendation of the Magistrate Judge (ECF No. 25) is
ACCEPTED and ADOPTED as the OPINION of the Court.

(2) Plaintiff's Motion for Summary Judgment (ECF No. 16) is GRANTED.

(3)  Defendant’s Motion for Summary Judgment (ECF No. 20) is DENIED.

(4) The decision of the Commissioner is VACATED and REMANDED.

Let the Clerk of the Court send a copy of this Final Order to all counsel of record.

It is so ORDERED.

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Richmond, Virginia

 

Henry E. Hudson.
Senior United States District Tudge

 

 

 

 

1 Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant to Rule 25(d) of the
Federal Rules of Civil Procedure, Acting Commissioner Kijakazi should be substituted as the defendant in this suit.
